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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

NATHANIEL HARVEY, et al.,

       Plaintiffs,

v.                                                               CV No. 19-1019 KWR/CG

NEW MEXICO DEPARTMENT
OF CORRECTIONS, et al.,

       Defendants.

                       STIPULATED CONFIDENTIALITY ORDER

       Defendants and Plaintiffs hereinafter collectively sometimes referred to as the

“Parties,” by and through their counsel, Hinkle Shanor LLP (Stephen S. Shanor and

Chelsea R. Green) for Defendant, and Stephen F. Lawless, P.A. (Stephen Lawless) for

Plaintiffs, hereby stipulate that the following Confidentiality Order is agreed upon and

shall be binding upon the Parties in the above captioned matter.

       1.      Definition of Confidential Information. For purposes of this Agreement,

“Confidential Information” shall include all information or material which contains

information of a financial, confidential, NMDOC Policies and Procedures, personnel

files, inmate files, medical records, PREA investigations and records, and other

confidential information. If Confidential Information is in written form, the disclosing party

shall label or stamp the materials with the word “Confidential” or some similar legend. If

Confidential Information is transmitted by deposition or other testimony, the disclosing

party shall, within fifteen (15) days of such oral communication, provide a writing

indicating that such oral communication constitutes Confidential Information.
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       2.      Definition of “Qualified Persons.” As used herein “Qualified Persons,”

means:

            a. Attorneys of record for the Parties in this Litigation and employees of such
               attorneys;
            b. Actual or potential experts or consultants who have, prior to any disclosure
               of “Confidential Information” to such persons, been made aware of and
               agreed to be bound by the terms of this Order;
            c. The Parties and/or their officers, agents or employees; and,
            d. If this Court so elects, any other person may be designated as a Qualified
               Person by order of this Court after notice and hearing to all Parties.

       3.      Exclusions from Confidential Information. A receiving party’s

obligations under this Agreement do not extend to information that is: (a) known at the

time of disclosure or subsequently becomes known; (b) discovered or created by a

receiving party before disclosure by a disclosing party; (c) learned by a receiving party

through legitimate means other than from the disclosing party or disclosing party’s

representatives or (d) is disclosed by a receiving party with disclosing party's prior

written approval.

       4.      Challenge to Confidentiality. The Parties hereby stipulate that financial

records are “Confidential.” Other than financial records, the opposing party may

challenge the designation of “Confidential” by filing a motion with the Court at anytime

within this proceeding, challenging said designation of any document in question. No

attorney’s fees will be awarded for the pursuit of any such motion.

       5.      Obligations of Receiving Party. A receiving party shall hold and

maintain the Confidential Information in strictest confidence. Confidential information

shall not be disclosed or made available by the receiving party to any persons other

than Qualified Persons. All Confidential Information produced or exchanged in the

course of this Litigation shall be used solely for the purpose of preparation, depositions,

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hearings, and trial of this Litigation and for no other purpose whatsoever and shall not

be disclosed to any person except in accordance with the terms hereof. Confidential

Information may be used as an exhibit during the course of a deposition in this lawsuit

so long as it is clearly identified as “Confidential” on the deposition record and any such

deposition exhibit or testimony regarding such exhibit shall not be filed with the Court

except in accordance with the provisions of this paragraph. In the event a party wishes

to use any “Confidential Information” in or as attachments to any affidavits, briefs,

memoranda of law, or other papers filed in Court in this Litigation, such Confidential

Information used therein shall be filed under seal in accordance with the New Mexico

Rules of Civil Procedure.

       A receiving party shall not, without prior written approval of disclosing party, use

for the receiving party’s own benefit, publish, copy, or otherwise disclose to others, or

permit the use by others for their benefit or to the detriment of a disclosing party, any

Confidential Information other than for use in this Litigation. Upon termination of this

Litigation and receipt of a written request from the disclosing party, a receiving party

shall return to disclosing party or destroy any and all records, notes, and other written,

printed, or tangible materials in its possession pertaining to Confidential Information

immediately.

       6.      Time Period/Conclusion of Action. The provisions of this order shall not

terminate at the conclusion of this action. After final conclusion of all aspects of this

litigation and upon written request from the party that seeks return or destruction of the

Confidential documents: (1) tangible stamped confidential documents and all copies of

same (other than exhibits of record or copies needed to comply with insurance



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directives) shall be returned to the party or persons which produced such documents or,

at the option of the producer destroyed; and (2) electronic copies (which are not exhibits

to filed pleadings or necessary to comply with insurance directives) shall be deleted

from the recipient’s devices, system and drives. All counsel of record who have been

requested to comply with this provision of this Order shall make certification of

compliance herewith and shall deliver the same to counsel for the party who produced

the documents.


       7.     No Effect on Discoverability. The Parties acknowledge that by

stipulating to this Order they do not waive any right or position that they may have to

object to the disclosure or production of information or documents for any reason.

       IT IS SO ORDERED.


                                   ____________________________________
                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




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